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Toshiba America, Inc., Toshiba America
Information Systems, Inc., and Toshiba
America Electronic Components, Inc.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

This Document Relates to
Case No. 13-cv-02171-SC (N.D. Cal.)

DELL INC. AND DELL PRODUCTS L.-P., DECLARATION OF
MATTHEW N. FRUTIG IN
Plaintiffs, SUPPORT OF THE TOSHIBA
DEFENDANTS’ RESPONSE TO
Vv. PLAINTIFFS’ OCTOBER 15, 2013
LETTER SEEKING DISCOVERY
HITACHI, LTD., et al., ORDER AND TO STRIKE
ERRATA
Defendants.

DECLARATION OF MATTHEW N. FRUTIG IN SUPPORT OF THE TOSHIBA
DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OCTOBER 15, 2013 LETTER SEEKING
DISCOVERY ORDER AND TO STRIKE ERRATA
Case No. 07-5944-SC
MDL No. 1917

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I, Matthew N. Frutig, hereby declare as follows:

1. I am an attorney with the law firm of White & Case LLP, counsel for
Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba Information Systems, Inc.,
and Toshiba America Electronic Components, Inc. (collectively, the “Toshiba Defendants”).

2. I submit this declaration in support of the Toshiba Defendants’ Response to
Plaintiffs’ October 15, 2013 Letter Seeking Discovery Order and to Strike Errata (“Toshiba
Defendants’ Response”), filed contemporaneously herewith. I have personal knowledge of
the facts stated herein, and I could and would competently testify thereto if called as a
witness.

3. Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the
deposition transcript of Shinichiro Tsuruta, dated September 25-27, 2013.

4. Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the
deposition transcript of Kerry Lee Hall, dated March 21, 2012.

5. Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the
deposition transcript of Ayumu Kinoshita, dated February 5-6, 2013.

6. Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the
deposition transcript of Shinichi Iwamoto, dated February 7-8, 2013.

7. Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the
deposition transcript of Hirokazu Nishiyama, dated March 5-7, 2013.

8. Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the
deposition transcript of Masaki Sanogawaya, dated July 31-August 2, 2013.

9. Attached hereto as Exhibit 7 is a true and correct copy of excerpts from the |
30(b)(6) deposition transcript of ABC Warehouse, dated August 23, 2013.

10. Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the

DVD of the deposition of Yasuki Yamamoto, dated July 1-3, 2013.

DECLARATION OF MATTHEW N. FRUTIG IN SUPPORT OF THE TOSHIBA
DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OCTOBER 15, 2013 LETTER SEEKING
DISCOVERY ORDER AND TO STRIKE ERRATA
Case No. 07-5944-SC
MDL No. 1917

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I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Executed this 29" day of October, 2013, in Washington, D.C.

DECLARATION OF MATTHEW N. FRUTIG IN SUPPORT OF THE TOSHIBA
DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OCTOBER 15, 2013 LETTER SEEKING
DISCOVERY ORDER AND TO STRIKE ERRATA
Case No. 07-5944-SC
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